Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Summit Texas Clean Energy, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  801 Second Ave, Suite 1150
                                  Seattle, WA 98104
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Certain real estate assets are located in Penwell,
                                                                                                  TX (See Schedule B55)
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.texascleanenergyproject.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 17-14525-TWD                   Doc 1        Filed 10/13/17           Ent. 10/13/17 16:15:49                Pg. 1 of 80
Debtor    Summit Texas Clean Energy, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                Debtor is
     attach a separate list                       Debtor     STCE Holdings, LLC                                             Relationship            subsidiary
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Summit Texas Clean Energy, LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 17-14525-TWD                      Doc 1      Filed 10/13/17             Ent. 10/13/17 16:15:49                  Pg. 3 of 80
Debtor    Summit Texas Clean Energy, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 13, 2017
                                                  MM / DD / YYYY


                             X   /s/ Rick Burkhardt                                                       Rick Burkhardt
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Management Committee Representative




18. Signature of attorney    X   /s/ Christine M. Tobin-Presser                                            Date October 13, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Christine M. Tobin-Presser
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-292-2110                  Email address


                                 #27628
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                 Case 17-14525-TWD                  Doc 1        Filed 10/13/17             Ent. 10/13/17 16:15:49                 Pg. 4 of 80
 Fill in this information to identify the case:

 Debtor name         Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 13, 2017                        X /s/ Rick Burkhardt
                                                                       Signature of individual signing on behalf of debtor

                                                                       Rick Burkhardt
                                                                       Printed name

                                                                       Management Committee Representative
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               Case 17-14525-TWD                          Doc 1           Filed 10/13/17            Ent. 10/13/17 16:15:49      Pg. 5 of 80
 Fill in this information to identify the case:

 Debtor name            Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           175,364.72

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           175,364.72


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       15,143,002.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       31,659,612.72


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         46,802,614.72




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Wells Fargo Bank - Balance as of
           3.1.     9/25/17                                                 Checking                        8405                                       $242.15



                    Wells Fargo Bank - Balance as of
           3.2.     9/25/17                                                 Savings                         8209                                         $20.57



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $262.72
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    RLI Insurance Company
                    2925 Richmond Avenue, Suite 1600, Houston, TX 77098
           7.1.     Surety Bond in favor of Texas Commission on Environmental Quality                                                             $175,102.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Summit Texas Clean Energy, LLC                                                Case number (If known)
                Name



 9.        Total of Part 2.                                                                                                         $175,102.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See attached Schedule.
           Cost value is $486,171.47; Accumulated
           Depreciation is $471,304.19.                                               $14,867.28                                           Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                     $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Summit Texas Clean Energy, LLC                                                Case number (If known)
                Name


               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used    Current value of
           property                                       extent of           debtor's interest      for current value        debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Base Project Site -
                     600 acres of land in
                     Ector County Texas.
                     Legal description
                     attached as 55A.
                     Project Site: 401
                     North FM 1601,
                     Penwell, TX 79776

                     Debtor is title holder
                     subject to property
                     reverting to grantor,
                     Odessa Industrial
                     Development Corp. if                 Title Holder
                     Debtor failes to                     subject to
                     achieve Financial                    reversion to
                     Closing of a coal                    Odessa
                     gasification type                    Industrial
                     plant on or before                   Development
                     December 31, 2017.                   Corp.                        Unknown                                             Unknown


           55.2.     6.27 acres of real
                     prroperty in Ector
                     County, Texas. Legal
                     Description attached
                     as 55B. Subject to
                     restrictive use
                     covenant.                            Title Holder                 Unknown                                             Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         Summit Texas Clean Energy, LLC                                               Case number (If known)
                Name

           55.3.     2.39 acres of real
                     property in Ector
                     County Texas. Legal
                     Description attached
                     as 55C. Subject to
                     restrictive use
                     covenant.                            Title Holder                 Unknown                                     Unknown


           55.4.     13.30 acres of real
                     property in Ector
                     County, Texas. Legal
                     Description attached
                     as 55D. Subject to
                     restrictive use
                     covenant.                            Title Holder                 Unknown                                     Unknown


           55.5.     2 tracts of land, 11.52
                     and 1.03 acres
                     respectively, in Ector
                     County, Texas. Legal
                     Description attached
                     as 55E. Subject to
                     restrictive use
                     covenant.                            Title Holder                 Unknown                                     Unknown


           55.6.     30 acres of real
                     property in Ector
                     County, Texas. Legal
                     Description attached
                     as 55F. Subject to
                     restrictive use
                     covenant.                            Title Holder                 Unknown                                     Unknown


           55.7.     Easement for gas line
                     across certain real
                     property in Ector
                     County, Texas. Legal
                     Description of
                     property attached as                 Easement
                     55G.                                 Holder                       Unknown                                     Unknown


           55.8.     Easement for pipe
                     line(s) across certain
                     real property in Ector
                     County, Texas. Legal
                     Description of
                     property attached as                 Easement
                     55H.                                 Holder                       Unknown                                     Unknown




 56.       Total of Part 9.                                                                                                           $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
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 Debtor         Summit Texas Clean Energy, LLC                                                Case number (If known)
                Name



 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.texascleanenergy.com                                                   Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            In connection with the ownership and
            development of a polygon clean coal with
            carbon capture power plant, funded by a U.S.
            Department of Energy reimbursement grant,
            the Debtor invested approximately $150
            million in total, including multiple engineering
            packages for the plant (representing a
            significant amount of pre-construction
            engineering work, including FEED and
            extended FEED work), other studies and
            reports (including with respect to the U.S.
            Fertilizer market), project plans, as well as the
            framework for financing a project of this type.                            Unknown                                              Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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             Case 17-14525-TWD                           Doc 1       Filed 10/13/17       Ent. 10/13/17 16:15:49             Pg. 11 of 80
 Debtor         Summit Texas Clean Energy, LLC                                               Case number (If known)
                Name



        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claims against United States Department of Energy
           relating to its termination of contractual relationship
           with Debtor for the development of a clean coal plant.
           Summit Texas Clean Energy, LLC et al. v. United States,
           Court of Claims Case No. 17-1138C filed 8/23/17 -
           Amount requested TBD.                                                                                                     Unknown
           Nature of claim           Claims relating to unreimbursed
                                     costs.
           Amount requested                                $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                            $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 6
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 Debtor          Summit Texas Clean Energy, LLC                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $262.72

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $175,102.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $175,364.72           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $175,364.72




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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In re Summit Texas Clean Energy, LLC




               ATTACHMENT TO SCHEDULE A/B, QUESTION NO. 41
     Office Equipment, computer and communication systems equipment and software




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Case 17-14525-TWD   Doc 1   Filed 10/13/17   Ent. 10/13/17 16:15:49   Pg. 33 of 80
 Fill in this information to identify the case:

 Debtor name         Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Siemens Financial Svcs,
 2.1                                                                                                                   $15,143,002.00                        $0.00
       Inc.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                All personal property
       400 Interstate N Pkwy, #
       115
       Atlanta, GA 30339
       Creditor's mailing address                     Describe the lien
                                                      All personal property
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       05/05/10                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




       Siemens Financial Svcs,
 2.2                                                                                                                                $0.00                    $0.00
       Inc.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                NOTICE ONLY
       170 Wood Avenue S
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Summit Texas Clean Energy, LLC                                                     Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                         $15,143,002.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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             Case 17-14525-TWD                           Doc 1          Filed 10/13/17       Ent. 10/13/17 16:15:49                    Pg. 35 of 80
 Fill in this information to identify the case:

 Debtor name         Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $12,242.00
           Advanced Resources                                                   Contingent
            International Inc                                                   Unliquidated
           4501 Fairfax Drive, Suite 910
                                                                                Disputed
           Arlington, VA 22203
                                                                             Basis for the claim:
           Date(s) debt was incurred 4/1/2015
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $87,361.64
           CH2MHill Engineers, Inc.                                             Contingent
           Attn: Project Director                                               Unliquidated
           14701 St. Mary's Lane #300                                           Disputed
           Houston, TX 77079-2923
                                                                             Basis for the claim:
           Date(s) debt was incurred 2/5/2016
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $91,459.23
           CH2MHill Engineers, Inc.                                             Contingent
           Attn: Project Director                                               Unliquidated
           14702 St. Mary's Lane #300                                           Disputed
           Houston, TX 77079-2923
                                                                             Basis for the claim:
           Date(s) debt was incurred 3/3/2016
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $43,655.61
           CH2MHill Engineers, Inc.                                             Contingent
           Attn: Project Director                                               Unliquidated
           14703 St. Mary's Lane #300                                           Disputed
           Houston, TX 77079-2923
                                                                             Basis for the claim:
           Date(s) debt was incurred 3/31/2016
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 12
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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $199,974.14
          CH2MHill Engineers, Inc.                                              Contingent
          Attn: Project Director                                                Unliquidated
          14704 St. Mary's Lane #300                                            Disputed
          Houston, TX 77079-2923
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/5/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $26,613.32
          CH2MHill Engineers, Inc.                                              Contingent
          Attn: Project Director                                                Unliquidated
          14705 St. Mary's Lane #300                                            Disputed
          Houston, TX 77079-2923
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/3/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $31.00
          CH2MHill Engineers, Inc.                                              Contingent
          Attn: Project Director                                                Unliquidated
          14706 St. Mary's Lane #300                                            Disputed
          Houston, TX 77079-2923
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/1/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $440,000.00
          China Huanqui Contracting & En
          1 Chuangda Road                                                       Contingent
          2, Laiguangying High-tech Park                                        Unliquidated
          Beijing PRC 100012                                                    Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/15/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $520,000.00
          China Huanqui Contracting & En
          1 Chuangda Road                                                       Contingent
          2, Laiguangying High-tech Park                                        Unliquidated
          Beijing PRC 100012                                                    Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/6/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $600,000.00
          China Huanqui Contracting & En
          1 Chuangda Road                                                       Contingent
          2, Laiguangying High-tech Park                                        Unliquidated
          Beijing PRC 100012                                                    Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/29/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $26,963.20
          Davis, Wright, Tremaine, LLP                                          Contingent
          1201 Third Ave #2200                                                  Unliquidated
          Seattle, WA 98101-3045                                                Disputed
          Date(s) debt was incurred 1/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 12
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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $637.00
          Davis, Wright, Tremaine, LLP                                          Contingent
          1201 Third Ave #2200                                                  Unliquidated
          Seattle, WA 98101-3045                                                Disputed
          Date(s) debt was incurred 7/7/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,960.00
          E3 Consulting Services, LLC                                           Contingent
          3333 S. Bannock St, Suite 500                                         Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred 1/26/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,760.00
          E3 Consulting Services, LLC                                           Contingent
          3333 S. Bannock St, Suite 500                                         Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred 2/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $28,569.07
          E3 Consulting Services, LLC                                           Contingent
          3333 S. Bannock St, Suite 500                                         Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred 3/28/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $34,012.50
          E3 Consulting Services, LLC                                           Contingent
          3333 S. Bannock St, Suite 500                                         Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred 4/20/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $46.00
          Eric Redman                                                           Contingent
          1521 2nd Ave, #3403                                                   Unliquidated
          Seattle, WA 98101                                                     Disputed
          Date(s) debt was incurred      4/16/2016                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,500.00
          GFS Global, LLC                                                       Contingent
          330 Little Falls Street                                               Unliquidated
          Falls Church, VA 22046                                                Disputed
          Date(s) debt was incurred 6/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number June fees
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,720.00
          Grant Thornton, LLP                                                   Contingent
          520 Pike Street, Suite 2800                                           Unliquidated
          Seattle, WA 98101-1389                                                Disputed
          Date(s) debt was incurred 7/19/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,784.00
          Grant Thornton, LLP                                                   Contingent
          520 Pike Street, Suite 2800                                           Unliquidated
          Seattle, WA 98101-1389                                                Disputed
          Date(s) debt was incurred 9/28/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $424.00
          Grant Thornton, LLP                                                   Contingent
          520 Pike Street, Suite 2800                                           Unliquidated
          Seattle, WA 98101-1389                                                Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $424.00
          Grant Thornton, LLP                                                   Contingent
          520 Pike Street, Suite 2800                                           Unliquidated
          Seattle, WA 98101-1389                                                Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $205,573.00
          Jones Day                                                             Contingent
          222 East 41st Street                                                  Unliquidated
          New York, NY 10017-6702
                                                                                Disputed
          Date(s) debt was incurred 12/31/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,500.00
          Kruger Environmental                                                  Contingent
           Strategies LLC                                                       Unliquidated
          11912 Old Bridge Road                                                 Disputed
          Rockville, MD 20852
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/29/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,500.00
          Kruger Environmental                                                  Contingent
           Strategies, LLC                                                      Unliquidated
          11912 Old Bridge Road                                                 Disputed
          Rockville, MD 20852
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/31/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,500.00
          Kruger Environmental                                                  Contingent
            Strategies, LLC                                                     Unliquidated
          11912 Old Bridge Road                                                 Disputed
          Rockville, MD 20852
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/30/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $30,657.80
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          555 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/31/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $53,577.54
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          556 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/29/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $54,995.12
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          557 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/31/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,505.96
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          558 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/30/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,268.96
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          559 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/28/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,059.56
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          560 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/19/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 12
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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,209.24
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          561 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/14/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $397.54
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          562 Eleventh Street NW #1000                                          Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/8/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $36,507.74
          Latham & Watkins LLP                                                  Contingent
          Attn: Paul J. Hunt                                                    Unliquidated
          563 Eleventh Street NW #1000
                                                                                Disputed
          Washington, DC 20004-1304
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,029.00
          McElroy, Sullivan, Miller,                                            Contingent
          Weber & Olmstead, LLP                                                 Unliquidated
          PO Box 12127                                                          Disputed
          Austin, TX 78711
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/4/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,468.72
          McElroy, Sullivan, Miller,                                            Contingent
          Weber & Olmstead, LLP                                                 Unliquidated
          PO Box 12127                                                          Disputed
          Austin, TX 78711
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/8/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $237.98
          McElroy, Sullivan, Miller,                                            Contingent
          Weber & Olmstead, LLP                                                 Unliquidated
          PO Box 12127                                                          Disputed
          Austin, TX 78711
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/8/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,434.00
          Melzer Consulting                                                     Contingent
          P.O. Box 2083                                                         Unliquidated
          Midland, TX 79702-2083
                                                                                Disputed
          Date(s) debt was incurred 4/1/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $202.00
          Norton Rose Fulbright                                                 Contingent
          Fulbright Tower                                                       Unliquidated
          1301 McKinney, Suite 5100                                             Disputed
          Houston, TX 77010-3095
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/13/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,414.00
          Norton Rose Fulbright                                                 Contingent
          Fulbright Tower                                                       Unliquidated
          1301 McKinney, Suite 5100                                             Disputed
          Houston, TX 77010-3095
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/15/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $480,000.00
          Odessa Development Corporation                                        Contingent
          Attn: Board President                                                 Unliquidated
          411 W. 8th Street
                                                                                Disputed
          Odessa, TX 79761
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,000.00
          QWAA (China) Limited
          Apt 902, Building 15                                                  Contingent
          Lane 177, Tianshan Road                                               Unliquidated
          Shanghai PRC 200336                                                   Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/18/2016
          Last 4 digits of account number July fees                          Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,000.00
          QWAA (China) Limited
          Apt 902, Building 15                                                  Contingent
          Lane 177, Tianshan Road                                               Unliquidated
          Shanghai PRC 200336                                                   Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/18/2016
          Last 4 digits of account number August fees                        Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,000.00
          QWAA (China) Limited
          Apt 902, Building 15                                                  Contingent
          Lane 177, Tianshan Road                                               Unliquidated
          Shanghai PRC 200336                                                   Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/16/2016
          Last 4 digits of account number September fees                     Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,372,085.00
          Siemens Energy, Inc.                                                  Contingent
          4400 Alafaya Trail, MC Q1-286
                                                                                Unliquidated
          Orlando, FL 32826-2399
                                                                                Disputed
          Date(s) debt was incurred 10/1/2014
          Last 4 digits of account number 2CO1                               Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes



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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $286,188.00
          Siemens Energy, Inc.                                                  Contingent
          4400 Alafaya Trail, MC Q1-286
                                                                                Unliquidated
          Orlando, FL 32826-2399
                                                                                Disputed
          Date(s) debt was incurred 4/1/2015
          Last 4 digits of account number 2CO2                               Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $359,133.00
          Siemens Energy, Inc.                                                  Contingent
          4400 Alafaya Trail, MC Q1-286
                                                                                Unliquidated
          Orlando, FL 32826-2399
                                                                                Disputed
          Date(s) debt was incurred 10/1/2015
          Last 4 digits of account number 2CO4                               Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $294,400.00
          Siemens Energy, Inc.                                                  Contingent
          4400 Alafaya Trail, MC Q1-286                                         Unliquidated
          Orlando, FL 32826-2399                                                Disputed
          Date(s) debt was incurred 1/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $294,400.00
          Siemens Energy, Inc.                                                  Contingent
          4400 Alafaya Trail, MC Q1-286                                         Unliquidated
          Orlando, FL 32826-2399                                                Disputed
          Date(s) debt was incurred 1/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $97,977.50
          Siemens Energy, Inc.                                                  Contingent
          4400 Alafaya Trail, MC Q1-286                                         Unliquidated
          Orlando, FL 32826-2399                                                Disputed
          Date(s) debt was incurred 2/12/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $190,836.00
          Siemens Energy, Inc.                                                  Contingent
          4400 Alafaya Trail, MC Q1-286                                         Unliquidated
          Orlando, FL 32826-2399                                                Disputed
          Date(s) debt was incurred 6/10/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $362,701.00
          Siemens Fuel Gasification
          GMBH & Co. KG                                                         Contingent
          Halsbruecker Strasse 34                                               Unliquidated
          Freiberg Germany 09599                                                Disputed
          GERMANY 09599
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/24/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $85,665.00
          Siemens Fuel Gasification
          GMBH & Co. KG                                                         Contingent
          Halsbruecker Strasse 34                                               Unliquidated
          Freiberg Germany 09600                                                Disputed
          GERMANY 09599
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/17/2015
          Last 4 digits of account number raw6                               Is the claim subject to offset?     No       Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $722,645.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors Inc
                                                                                Unliquidated
          919 Milam, Suite 1000
          Houston, TX 77002                                                     Disputed

          Date(s) debt was incurred 4/1/2015                                 Basis for the claim:
          Last 4 digits of account number MTO1                               Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,185,360.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors Inc
                                                                                Unliquidated
          919 Milam, Suite 1000
          Houston, TX 77002                                                     Disputed

          Date(s) debt was incurred 4/29/2015                                Basis for the claim:
          Last 4 digits of account number TO23                               Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $123,157.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors Inc
                                                                                Unliquidated
          919 Milam, Suite 1000
          Houston, TX 77002                                                     Disputed

          Date(s) debt was incurred 12/14/2015                               Basis for the claim:
          Last 4 digits of account number TO4                                Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $89,502.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors Inc
                                                                                Unliquidated
          919 Milam, Suite 1000
          Houston, TX 77002                                                     Disputed

          Date(s) debt was incurred 12/24/2015                               Basis for the claim:
          Last 4 digits of account number TO O&M                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $646,218.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors Inc
                                                                                Unliquidated
          919 Milam, Suite 1000
          Houston, TX 77002                                                     Disputed

          Date(s) debt was incurred 8/1/2015                                 Basis for the claim:
          Last 4 digits of account number TO5                                Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $579,595.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors Inc
                                                                                Unliquidated
          919 Milam, Suite 1000
          Houston, TX 77002                                                     Disputed

          Date(s) debt was incurred 11/16/2015                               Basis for the claim:
          Last 4 digits of account number TO6                                Is the claim subject to offset?     No       Yes



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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,402,165.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors Inc
                                                                                Unliquidated
          919 Milam, Suite 1000
          Houston, TX 77002                                                     Disputed

          Date(s) debt was incurred 6/30/2016                                Basis for the claim:
          Last 4 digits of account number TO7                                Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $762,510.99
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors, Inc                                                  Unliquidated
          919 Milam, Suite 1000                                                 Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/17/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $64,792.37
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors, Inc                                                  Unliquidated
          919 Milam, Suite 1000                                                 Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/22/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $173,758.61
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors, Inc                                                  Unliquidated
          919 Milam, Suite 1000                                                 Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/8/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,680,000.00
          SNC-Lavalin Engineers                                                 Contingent
           & Constructors, Inc.                                                 Unliquidated
          919 Milam, Suite 1000                                                 Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/1/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,680,000.00
          SNC-Lavalin Engineers                                                 Contingent
          & Constructors, Inc                                                   Unliquidated
          919 Milam, Suite 1000                                                 Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/1/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $86,365.28
          SNC-Lavalin Project Services                                          Contingent
          436 Creamery Way, Suite 100                                           Unliquidated
          Exton, PA 19341                                                       Disputed
          Date(s) debt was incurred 12/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Summit Texas Clean Energy, LLC                                                          Case number (if known)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,800,000.00
          U.S. Dept. of Energy/NETL
          ATTN Maureen Davison-Cntrct Sp                                        Contingent
          626 Cochrans Mill RD                                                  Unliquidated
          PO Box 10940                                                          Disputed
          Pittsburgh, PA 15236-0940
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/22/2016
          Last 4 digits of account number 2650                               Is the claim subject to offset?     No       Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,284.84
          Wellford Capital Markets, LLC                                         Contingent
          Attn: Bret Logue                                                      Unliquidated
          110 E. 42nd Street #1310                                              Disputed
          New York, NY 10017
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/1/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          Wellford Capital Markets, LLC                                         Contingent
          Attn: Bret Logue                                                      Unliquidated
          110 E 42nd Street #1310                                               Disputed
          New York, NY 10017
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/1/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,399.88
          Wellford Capital Markets, LLC                                         Contingent
          Attn: Bret Logue                                                      Unliquidated
          111 E 42nd Street #1310                                               Disputed
          New York, NY 10017
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/17/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $187,678.38
          Wellford Capital Partners, LLC                                        Contingent
          Attn: Bret Logue                                                      Unliquidated
          112 E 42nd Street #1310                                               Disputed
          New York, NY 10017
                                                                             Basis for the claim:
          Date(s) debt was incurred various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          Wells Fargo Bank
          Corporate Trust Services                                              Contingent
          WF 8113                                                               Unliquidated
          PO Box 1450                                                           Disputed
          Minneapolis, MN 55485-8113
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,620.00
          Wright, William
          Guangcia Int'l Apartments 4-8B                                        Contingent
          Chaoyang District                                                     Unliquidated
          Beijing PRC 100020                                                    Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/6/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Summit Texas Clean Energy, LLC                                                       Case number (if known)
              Name

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                          0.00
 5b. Total claims from Part 2                                                                        5b.   +   $                 31,659,612.72

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                    31,659,612.72




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 Fill in this information to identify the case:

 Debtor name         Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Counsel for DOE
             lease is for and the nature of               appeal in U.S. Court of
             the debtor's interest                        Federal Claims

                  State the term remaining                Not specified - SOW is        Baker Botts LLP
                                                          DOE appeal                    Attn: Stanley R. Soya
             List the contract number of any                                            1299 Pennsylvania Ave., NW
                   government contract                                                  Washington, D.C. 20004-2400


 2.2.        State what the contract or                   Ancillary site
             lease is for and the nature of               easements
             the debtor's interest

                  State the term remaining                Not specified, use
                                                          subject to covenants          Betty Moss Dean
             List the contract number of any                                            508 W. Wall Street, Suite 780
                   government contract                                                  Midland, TX 79701


 2.3.        State what the contract or                   Project engineering +
             lease is for and the nature of               professional services
             the debtor's interest

                  State the term remaining                Not specified - TO
                                                          based services,
                                                          services suspended
                                                          but outstanding               CH2M HILL Engineers, Inc.
                                                          invoices                      Attention: Gary Brown
             List the contract number of any                                            9191 South Jamaica Street
                   government contract                                                  Englewood, CO 80112-5946


 2.4.        State what the contract or                   Program Management
             lease is for and the nature of               Agreement
             the debtor's interest                        post-financial closing
                                                          (terminable by either
                                                          party on notice)              CH2M HILL Engineers, Inc.
                  State the term remaining                Not specified                 Attention: Project Director
                                                                                        1000 Abernathy Road
             List the contract number of any                                            Suite 1600
                   government contract                                                  Atlanta, GA 30328

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 Debtor 1 Summit Texas Clean Energy, LLC                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease



 2.5.        State what the contract or                   Owner's Engineer --
             lease is for and the nature of               engineering and
             the debtor's interest                        project/construction
                                                          management services
                  State the term remaining                Through project               CH2M HILL Engineers, Inc.
                                                          construction (absent          Attention: Project Director
                                                          earlier termination)          14701 St. Mary's Lane
             List the contract number of any                                            Suite 300
                   government contract                                                  Houston, TX 77079


 2.6.        State what the contract or                   FEED, EPC Agrmts
             lease is for and the nature of
             the debtor's interest
                                                                                        China Huanqiu Contracting/Eng
                  State the term remaining                Any party right to            1, Chuangda Road 2
                                                          nullify/void EPC              Chaoyang District
             List the contract number of any                                            Beijing PRC 100012
                   government contract                                                  CHINA


 2.7.        State what the contract or                   Land grant/jobs grant
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Land grant 12/31/17;
                                                          Jobs grant 10 years           City of Odessa
                                                          past FTE                      Attention: City Manager
             List the contract number of any                                            P.O. Box 4398
                   government contract                                                  Odessa, TX 79760


 2.8.        State what the contract or                   Coal supply agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                240 mos after project
                                                          COD absent earlier
                                                          termination (if no
                                                          closing by 4/30/18,           Cloud Peak Energy
                                                          termination permitted          Resources LLC
                                                          without penalty)              Attn: Contract Administration
             List the contract number of any                                            385 Interlocken Crescent #400
                   government contract                                                  Broomfield, CO 80021


 2.9.        State what the contract or                   General project
             lease is for and the nature of               counsel
             the debtor's interest

                  State the term remaining                Not specified - SOW is        Davis Wright Tremane LLP
                                                          generalized project           Attn: Scott W. MacCormack
                                                          legal services                1201 Third Avenue
             List the contract number of any                                            Suite 2200
                   government contract                                                  Seattle, WA 98101-3045
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 8
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 Debtor 1 Summit Texas Clean Energy, LLC                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease



 2.10.       State what the contract or                   Independent
             lease is for and the nature of               engineering review of
             the debtor's interest                        cost estimate

                  State the term remaining                Not specified
                                                          (terminable on 10 days
                                                          notice)                       E3 Consulting Services, LLC
             List the contract number of any                                            3333 S. Bannock St, Suite 500
                   government contract                                                  Englewood, CO 80110


 2.11.       State what the contract or                   Tax abatement agrmt
             lease is for and the nature of
             the debtor's interest
                                                                                        Ector County Hospital Dist
                  State the term remaining                10Y from COD                  Medical Center Health System
                                                                                        ATTN William Webster, CEO
             List the contract number of any                                            500 W. 4th Street
                   government contract                                                  Odessa, TX 79761


 2.12.       State what the contract or                   Tax abatement agrmt
             lease is for and the nature of
             the debtor's interest
                                                                                        Ector County, Texas
                  State the term remaining                10Y from COD                  Attention: Susan M. Redford
                                                                                        Ector County Judge
             List the contract number of any                                            300 N. Grant Avenue
                   government contract                                                  Odessa, TX 79761


 2.13.       State what the contract or                   TCEP market
             lease is for and the nature of               participant agrmt for
             the debtor's interest                        ERCOT

                  State the term remaining                Evergreen for annual
                                                          1-year extensions on          Electric Reliability Council
                                                          4/1 (termination on 30         of Texas, Inc.
                                                          days written notice)          Attn: Legal Department
             List the contract number of any                                            7620 Metro Center Drive
                   government contract                                                  Austin, TX 78744-1654


 2.14.       State what the contract or                   Auditors
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Not specified
                                                                                        Grant Thornton LLP
             List the contract number of any                                            520 Pike Street #2800
                   government contract                                                  Seattle, WA 98101




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 Debtor 1 Summit Texas Clean Energy, LLC                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.15.       State what the contract or                   Engineering/design
             lease is for and the nature of               services for particular
             the debtor's interest                        chemical processes at
                                                          plant
                  State the term remaining                Exp 10/1/19                   Haldor Topsoe, Inc.
                                                                                        Attn: Chief Executive Officer
             List the contract number of any                                            17629 El Camino Real #300
                   government contract                                                  Houston, TX 77058


 2.16.       State what the contract or                   Engineering/design
             lease is for and the nature of               services for particular
             the debtor's interest                        chemical processes at
                                                          plant
                  State the term remaining                Exp 10/1/19                   HQC USA, LLC
                                                                                        Attn: Ling Xu
             List the contract number of any                                            2500 City West Blvd #725
                   government contract                                                  Houston, TX 77042


 2.17.       State what the contract or                   Advisory services of
             lease is for and the nature of               Chinese IGCC operator
             the debtor's interest
                                                                                        Huaneng Clean EnergyRsrch Inst
                  State the term remaining                Exp 12/31/22 or earlier       Lab BLDG A CHNG Innovtion Base
                                                          on 30 days notice             South Area Future Science&Tech
             List the contract number of any                                            Beiqijia Town, Changping Dist
                   government contract                                                  Beijing, PRC 00010-2209 CHINA


 2.18.       State what the contract or                   EPC & Financing
             lease is for and the nature of               counsel
             the debtor's interest

                  State the term remaining                Not specified                 Latham & Watkins LLP
                                                                                        Attn: Paul J. Hunt
             List the contract number of any                                            555 Eleventh Street NW #1000
                   government contract                                                  Washington, D.C. 20004-1304


 2.19.       State what the contract or                   Advisor re
             lease is for and the nature of               agency/Congressional
             the debtor's interest                        matters

                  State the term remaining                Exp 12/31/17
                                                                                        Laura Miller
             List the contract number of any                                            P.O. Box 191466
                   government contract                                                  Dallas, TX 75219


 2.20.       State what the contract or                   O&M contract
             lease is for and the nature of               (post-construction)
             the debtor's interest
                                                                                        Linde LLC
                  State the term remaining                Not specified -               Attention: Contract Manager
                                                          terminable on 15 days         575 Mountain Avenue
                                                          notice                        Murray Hill, NJ 07974
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 Debtor 1 Summit Texas Clean Energy, LLC                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

             List the contract number of any
                   government contract


 2.21.       State what the contract or                   Local TX counsel
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Not specified                 McElroy Sullivan & Miller LLP
                                                                                        Attention: Thomas M. Weber
             List the contract number of any                                            P.O. Box 12127
                   government contract                                                  Austin, TX 78711


 2.22.       State what the contract or                   Advisor re
             lease is for and the nature of               Congressional/local
             the debtor's interest                        matters

                  State the term remaining                Exp 12/31/17                  McWilliams Governmental
                                                                                         Affairs Consultants
             List the contract number of any                                            1220 Colorado, Suite 100
                   government contract                                                  Austin, TX 78701


 2.23.       State what the contract or                   Land grant/jobs grant
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Land grant 12/31/17;
                                                          Jobs grant 10 years           Odessa Development Corporation
                                                          past FTE                      Attention: Board President
             List the contract number of any                                            411 W. 8th Street
                   government contract                                                  Odessa, TX 79761


 2.24.       State what the contract or                   Project site
             lease is for and the nature of
             the debtor's interest
                                                                                        Odessa Industrial
                  State the term remaining                Site reverter 12/31/17         Development Corp
                                                                                        ATTN Secretary
             List the contract number of any                                            PO Box 3626
                   government contract                                                  Odessa, TX 79760


 2.25.       State what the contract or                   Tax abatement agrmt
             lease is for and the nature of
             the debtor's interest
                                                                                        Odessa Junior College District
                  State the term remaining                10Y from COD                  Gregory D. Williams Ed.D./Pres
                                                                                        Odessa College
             List the contract number of any                                            201 West University Blvd.
                   government contract                                                  Odessa, TX 79764




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 Debtor 1 Summit Texas Clean Energy, LLC                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.26.       State what the contract or                   ERCOT standard
             lease is for and the nature of               generation
             the debtor's interest                        interconnection
                                                          agreement
                  State the term remaining                Terminable on 30 days         Oncor Electric Delivery Co LLC
                                                          notice                        Attn: Jeff Herring
             List the contract number of any                                            2233 B Mountain Creek Parkway
                   government contract                                                  Dallas, TX 75211-6711


 2.27.       State what the contract or                   Natgas supply/facilities
             lease is for and the nature of               (several agreements)
             the debtor's interest

                  State the term remaining                Evergreen subject to
                                                          annual termination            ONEOK WesTex Transmission LLC
                                                          right in Nov                  Attn: Contract Administration
             List the contract number of any                                            P.O. Box 22089
                   government contract                                                  Tulsa, OK 74121-2089


 2.28.       State what the contract or                   Advisors - tax equity
             lease is for and the nature of               financing
             the debtor's interest

                  State the term remaining                Monthly auto-renewals         Reznick Capital Markets
                                                          absent 5-day                   Securities, LLC
                                                          termination                   Attn: President
             List the contract number of any                                            420 Lexington Avenue #2310
                   government contract                                                  New York, NY 10170


 2.29.       State what the contract or                   Collateral
             lease is for and the nature of               agent/underwriter re
             the debtor's interest                        TCEQ P&A bond

                  State the term remaining                Not specified                 RLI Insurance Company
                                                                                        8 Greenway Plaza
             List the contract number of any                                            Suite 400
                   government contract                                                  Houston, TX 77046


 2.30.       State what the contract or                   Project data room
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Not specified                 Share Vault
                                                                                        Pandesa Corporation
             List the contract number of any                                            16795 Lark Ave., Suite 210
                   government contract                                                  Los Gatos, CA 95032


 2.31.       State what the contract or                   Steam Turbine
             lease is for and the nature of               Purchase Agrmt
             the debtor's interest                                                      Siemens Energy, Inc.
                                                                                        4400 Alafaya Trail, MC Q1-286
                  State the term remaining                Exp 1/1/18                    Orlando, FL 32826-2399
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 Debtor 1 Summit Texas Clean Energy, LLC                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease


             List the contract number of any
                   government contract


 2.32.       State what the contract or                   Secured lender
             lease is for and the nature of
             the debtor's interest
                                                                                        Siemens Financial Services Inc
                  State the term remaining                Exp 9/30/2017                 ATTN James H. Kipers, Jr.
                                                                                        400 Interstate North Parkway
             List the contract number of any                                            Suite 1150
                   government contract                                                  Atlanta, GA 30339


 2.33.       State what the contract or                   FEED, EPC Agrmts
             lease is for and the nature of
             the debtor's interest
                                                                                        SNC-Lavalin Engineers
                  State the term remaining                Any party right to             & Constructors Inc
                                                          nullify/void EPC              Attention: Barry White
             List the contract number of any                                            919 Milam, Suite 1000
                   government contract                                                  Houston, TX 77002


 2.34.       State what the contract or                   Services related to
             lease is for and the nature of               carbon credits
             the debtor's interest

                  State the term remaining                Not specified                 Summit Carbon Capture, LLC
                                                                                        ATTN Richard W. Burkhardt
             List the contract number of any                                            801 Second Avenue, Suite 1150
                   government contract                                                  Seattle, WA 98104


 2.35.       State what the contract or                   Contract for SPG
             lease is for and the nature of               services
             the debtor's interest
                                                                                        Summit Texas Clean
                  State the term remaining                Not specified                  Energy Development, LLC
                                                                                        ATTN Richard W. Burkhar
             List the contract number of any                                            801 Second Avenue, Suite 1150
                   government contract                                                  Seattle, WA 98104


 2.36.       State what the contract or                   Pipeline easement
             lease is for and the nature of
             the debtor's interest
                                                                                        The University of Texas System
                  State the term remaining                Exp 6/1/21 absent              Board of Regents
                                                          earlier termination           The University of Texas System
             List the contract number of any                                            P.O. Box 553
                   government contract                                                  Midland, TX 79702




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 Debtor 1 Summit Texas Clean Energy, LLC                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.37.       State what the contract or                   Industry track agrmt
             lease is for and the nature of
             the debtor's interest
                                                                                        Union Pacific Railroad Company
                  State the term remaining                Evergreen absent              ATTN Real Estate Foldr 2695-72
                                                          earlier term                  1400 Douglas Street
             List the contract number of any                                            STOP 1690
                   government contract                                                  Omaha, NE 68179-1690


 2.38.       State what the contract or                   Water EPC
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Not specified
                                                                                        Veolia Water Technologies Inc
             List the contract number of any                                            250 Airside Drive
                   government contract                                                  Moon Township, PA 15108




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 Fill in this information to identify the case:

 Debtor name         Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      CCM TCEP, LLC                     1730 Massachusetts Ave NW                         U.S. Dept. of                      D
                                               Washington, DC 20036                              Energy/NETL                        E/F       3.68
                                                                                                                                    G




    2.2      Summit Power                      801 2nd Ave. Ste 1150                             U.S. Dept. of                      D
             Group, LLC                        Seattle, WA 98104                                 Energy/NETL                        E/F       3.68
                                                                                                                                    G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Summit Texas Clean Energy, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2017 to Filing Date                                                                        Grant Receipts from
                                                                                                   Other    DOE


       For prior year:                                                                             Operating a business                             $2,781,644.26
       From 1/01/2016 to 12/31/2016                                                                         Grant Receipts from
                                                                                                   Other    DOE


       For year before that:                                                                       Operating a business                           $40,022,177.83
       From 1/01/2015 to 12/31/2015                                                                         Grant Receipts from
                                                                                                   Other    DOE

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Summit Texas Clean Energy, LLC                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SNC Lavalin                                                 07/18/17                        $100,000.00                Secured debt
               Mr. Joseph Lichon                                                                                                      Unsecured loan repayments
               EVP Americas & Asia Pacific
                                                                                                                                      Suppliers or vendors
               SNC-Lavalin
                                                                                                                                      Services
               919 Milam, Suite 1000
               Houston, TX 77002                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Summit Texas Clean Energy,                        Claims against             United States Court of                         Pending
               LLC et al. v. United States                       United States              Federal Claims                                 On appeal
               Department of Energy                              Department of              717 Madison Place NW
                                                                                                                                           Concluded
               17-1138C                                          Energy relating to         DC 20000
                                                                 its termination of
                                                                 contractual
                                                                 relationship with
                                                                 Debtor for the
                                                                 development of a
                                                                 clean coal plant.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

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 Debtor      Summit Texas Clean Energy, LLC                                                                 Case number (if known)



           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                        Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

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 Debtor        Summit Texas Clean Energy, LLC                                                           Case number (if known)



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     83 S King Street, Ste 200                                                                                 March 2011 through March 2015
                 Seattle, WA 98104

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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 Debtor      Summit Texas Clean Energy, LLC                                                             Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       Ryan Cooper                                                                                                         September 2010
                    801 2nd Ave, Suite 1150                                                                                             through September
                    Seattle, WA 98104                                                                                                   2016
       26a.2.       Ashley Endres                                                                                                       November 2010 -
                    801 2nd Ave, Suite 1150                                                                                             December 2016
                    Seattle, WA 98104
       26a.3.       Richard W. Burhardt                                                                                                 July 2008 to Present
                    801 2nd Ave, Suite 1150
                    Seattle, WA 98104
       26a.4.       Vici Hall                                                                                                           November 2009 to
                    801 2nd Ave, Ste 1150                                                                                               Present
                    Seattle, WA 98104
       26a.5.       Rebecca Fagerlie                                                                                                    August 2010 to
                    801 2nd Ave, Ste 1150                                                                                               Present
                    Seattle, WA 98104
       26a.6.       Kristin Adamson                                                                                                     July 2011 to October
                    801 2nd Ave., Ste 1150                                                                                              2016
                    Seattle, WA 98104
       26a.7.       Marjan Swan                                                                                                         July 2015 to
                    801 2nd Ave, Ste 1150                                                                                               December 2016
                    Seattle, WA 98104

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Grant Thornton                                                                                                      Audit Services for
                    520 Pike Street, Ste 2800                                                                                           2015 -
                    98101                                                                                                               Approximately 11/15
                                                                                                                                        through 07/16

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Siemens Financial Svcs, Inc.
                    400 Interstate N Pkwy, # 115
                    Atlanta, GA 30339

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?
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 Debtor      Summit Texas Clean Energy, LLC                                                             Case number (if known)




            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       STCE Holdings, LLC                                                                                 Member                                100%


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Earl Gjelde                                    801 2nd Ave, Ste 1150                               SVP, Management Committee
                                                      Seattle, WA 98104                                   Representative

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Eric Gjelde                                    801 2nd Ave, Ste 1150                               Management Committee
                                                      Seattle, WA 98104                                   Representative

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Rick Burkhardt                                 801 2nd Ave, Ste 1150                               Management Committee
                                                      Seattle, WA 98104                                   Representative

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Karl Mattes                                    802 2nd Ave, Ste 1150                               Management Committee
                                                      Seattle, WA 98104                                   Representative



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Jason Crew                                     801 2nd Ave, Ste 1150                               Management Committee              10/06/14-09/22/17
                                                      Seattle, WA 98104                                   Representative and CEO

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Ann Banks                                      801 2nd Ave, Ste 1150                               Management Committee              11/13/12-12/18/16
                                                      Seattle, WA 98104                                   Representative and CCO

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Kelly Goodman                                  801 2nd Ave, Ste 1150                               Management Committee              06/30/16-09/22/17
                                                      Seattle, WA 98104                                   Representative




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 Debtor      Summit Texas Clean Energy, LLC                                                             Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Mel Riggs                                      CW NextGen Investment LP                            Management Committee             02/02/11-09/22/17
                                                      6 Desta Drive, Ste 3000                             Representative
                                                      Midland, TX 79705

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 13, 2017

 /s/ Rick Burkhardt                                                     Rick Burkhardt
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Management Committee Representative

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re       Summit Texas Clean Energy, LLC                                                                   Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 25,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 13, 2017                                                             /s/ Christine M. Tobin-Presser
     Date                                                                         Christine M. Tobin-Presser #27628
                                                                                  Signature of Attorney
                                                                                  Bush Kornfeld LLP
                                                                                  601 Union St., Suite 5000
                                                                                  Seattle, WA 98101-2373
                                                                                  206-292-2110 Fax: 206-292-2104
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Summit Texas Clean Energy, LLC                                                                   Case No.
                                                                                    Debtor(s)                Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Management Committee Representative of the corporation named as the debtor in this case, hereby verify that the attached list

of creditors is true and correct to the best of my knowledge.




 Date:       October 13, 2017                                            /s/ Rick Burkhardt
                                                                         Rick Burkhardt/Management Committee Representative
                                                                         Signer/Title




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                        US ATTORNEY
                        ATN BANKRUPTCY ASSISTANT
                        700 STEWART STREET
                        ROOM 5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        COMMODITY FUTURES TRADING
                        1155 21ST ST NW
                        WASHINGTON, DC 20581


                        SECURITIES & EXCHANGE COMM
                        ATTN BANKRUPTCY COUNSEL
                        44 MONTGOMERY ST #2600
                        SAN FRANCISCO, CA 94104


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        US DEPT OF EDUCATION
                        BANKRUPTCY DEPARTMENT
                        PO BOX 65128
                        SAINT PAUL, MN 55165


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44171
                        OLYMPIA, WA 98504-4171


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046




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                    WA ATTORNEY GENERAL
                    BANKRUPTCY & COLLECTIONS UNIT
                    800 5TH AVE #2000
                    SEATTLE, WA 98104


                    WA DEPT OF SOCIAL&HEALTH SVCS
                    DIV OF CHILD SUPPORT
                    PO BOX 11520
                    TACOMA, WA 98411-5520


                    CHRISTINE M. TOBIN-PRESSER
                    BUSH KORNFELD LLP
                    601 UNION ST., SUITE 5000
                    SEATTLE, WA 98101-2373


                    SUMMIT TEXAS CLEAN ENERGY, LLC
                    801 SECOND AVE, SUITE 1150
                    SEATTLE, WA 98104


                    ADVANCED RESOURCES
                     INTERNATIONAL INC
                    4501 FAIRFAX DRIVE, SUITE 910
                    ARLINGTON, VA 22203


                    BAKER BOTTS LLP
                    ATTN: STANLEY R. SOYA
                    1299 PENNSYLVANIA AVE., NW
                    WASHINGTON, D.C. 20004-2400


                    BETTY MOSS DEAN
                    508 W. WALL STREET, SUITE 780
                    MIDLAND, TX 79701


                    CCM TCEP, LLC
                    1730 MASSACHUSETTS AVE NW
                    WASHINGTON, DC 20036


                    CH2M HILL ENGINEERS, INC.
                    ATTENTION: GARY BROWN
                    9191 SOUTH JAMAICA STREET
                    ENGLEWOOD, CO 80112-5946




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                    CH2M HILL ENGINEERS, INC.
                    ATTENTION: PROJECT DIRECTOR
                    1000 ABERNATHY ROAD
                    SUITE 1600
                    ATLANTA, GA 30328


                    CH2M HILL ENGINEERS, INC.
                    ATTENTION: PROJECT DIRECTOR
                    14701 ST. MARY'S LANE
                    SUITE 300
                    HOUSTON, TX 77079


                    CH2MHILL ENGINEERS, INC.
                    ATTN: PROJECT DIRECTOR
                    14701 ST. MARY'S LANE #300
                    HOUSTON, TX 77079-2923


                    CH2MHILL ENGINEERS, INC.
                    ATTN: PROJECT DIRECTOR
                    14702 ST. MARY'S LANE #300
                    HOUSTON, TX 77079-2923


                    CH2MHILL ENGINEERS, INC.
                    ATTN: PROJECT DIRECTOR
                    14703 ST. MARY'S LANE #300
                    HOUSTON, TX 77079-2923


                    CH2MHILL ENGINEERS, INC.
                    ATTN: PROJECT DIRECTOR
                    14704 ST. MARY'S LANE #300
                    HOUSTON, TX 77079-2923


                    CH2MHILL ENGINEERS, INC.
                    ATTN: PROJECT DIRECTOR
                    14705 ST. MARY'S LANE #300
                    HOUSTON, TX 77079-2923


                    CH2MHILL ENGINEERS, INC.
                    ATTN: PROJECT DIRECTOR
                    14706 ST. MARY'S LANE #300
                    HOUSTON, TX 77079-2923


                    CHINA HUANQIU CONTRACTING/ENG
                    1, CHUANGDA ROAD 2
                    CHAOYANG DISTRICT
                    BEIJING PRC 100012
                    CHINA


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                    CHINA HUANQUI CONTRACTING & EN
                    1 CHUANGDA ROAD
                    2, LAIGUANGYING HIGH-TECH PARK
                    BEIJING PRC 100012
                    CHINA


                    CITY OF ODESSA
                    ATTENTION: CITY MANAGER
                    P.O. BOX 4398
                    ODESSA, TX 79760


                    CLOUD PEAK ENERGY
                     RESOURCES LLC
                    ATTN: CONTRACT ADMINISTRATION
                    385 INTERLOCKEN CRESCENT #400
                    BROOMFIELD, CO 80021


                    DAVIS WRIGHT TREMANE LLP
                    ATTN: SCOTT W. MACCORMACK
                    1201 THIRD AVENUE
                    SUITE 2200
                    SEATTLE, WA 98101-3045


                    DAVIS, WRIGHT, TREMAINE, LLP
                    1201 THIRD AVE #2200
                    SEATTLE, WA 98101-3045


                    E3 CONSULTING SERVICES, LLC
                    3333 S. BANNOCK ST, SUITE 500
                    ENGLEWOOD, CO 80110


                    ECTOR COUNTY HOSPITAL DIST
                    MEDICAL CENTER HEALTH SYSTEM
                    ATTN WILLIAM WEBSTER, CEO
                    500 W. 4TH STREET
                    ODESSA, TX 79761


                    ECTOR COUNTY, TEXAS
                    ATTENTION: SUSAN M. REDFORD
                    ECTOR COUNTY JUDGE
                    300 N. GRANT AVENUE
                    ODESSA, TX 79761




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                    ELECTRIC RELIABILITY COUNCIL
                     OF TEXAS, INC.
                    ATTN: LEGAL DEPARTMENT
                    7620 METRO CENTER DRIVE
                    AUSTIN, TX 78744-1654


                    ERIC REDMAN
                    1521 2ND AVE, #3403
                    SEATTLE, WA 98101


                    GFS GLOBAL, LLC
                    330 LITTLE FALLS STREET
                    FALLS CHURCH, VA 22046


                    GRANT THORNTON LLP
                    520 PIKE STREET #2800
                    SEATTLE, WA 98101


                    GRANT THORNTON, LLP
                    520 PIKE STREET, SUITE 2800
                    SEATTLE, WA 98101-1389


                    HALDOR TOPSOE, INC.
                    ATTN: CHIEF EXECUTIVE OFFICER
                    17629 EL CAMINO REAL #300
                    HOUSTON, TX 77058


                    HQC USA, LLC
                    ATTN: LING XU
                    2500 CITY WEST BLVD #725
                    HOUSTON, TX 77042


                    HUANENG CLEAN ENERGYRSRCH INST
                    LAB BLDG A CHNG INNOVTION BASE
                    SOUTH AREA FUTURE SCIENCE&TECH
                    BEIQIJIA TOWN, CHANGPING DIST
                    BEIJING, PRC 00010-2209 CHINA


                    JONES DAY
                    222 EAST 41ST STREET
                    NEW YORK, NY 10017-6702


                    KRUGER ENVIRONMENTAL
                     STRATEGIES LLC
                    11912 OLD BRIDGE ROAD
                    ROCKVILLE, MD 20852


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                    KRUGER ENVIRONMENTAL
                     STRATEGIES, LLC
                    11912 OLD BRIDGE ROAD
                    ROCKVILLE, MD 20852


                    KRUGER ENVIRONMENTAL
                      STRATEGIES, LLC
                    11912 OLD BRIDGE ROAD
                    ROCKVILLE, MD 20852


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    555 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    556 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    557 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    558 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    559 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    560 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    561 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304




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                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    562 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    563 ELEVENTH STREET NW #1000
                    WASHINGTON, DC 20004-1304


                    LATHAM & WATKINS LLP
                    ATTN: PAUL J. HUNT
                    555 ELEVENTH STREET NW #1000
                    WASHINGTON, D.C. 20004-1304


                    LAURA MILLER
                    P.O. BOX 191466
                    DALLAS, TX 75219


                    LINDE LLC
                    ATTENTION: CONTRACT MANAGER
                    575 MOUNTAIN AVENUE
                    MURRAY HILL, NJ 07974


                    MCELROY SULLIVAN & MILLER LLP
                    ATTENTION: THOMAS M. WEBER
                    P.O. BOX 12127
                    AUSTIN, TX 78711


                    MCELROY, SULLIVAN, MILLER,
                    WEBER & OLMSTEAD, LLP
                    PO BOX 12127
                    AUSTIN, TX 78711


                    MCWILLIAMS GOVERNMENTAL
                     AFFAIRS CONSULTANTS
                    1220 COLORADO, SUITE 100
                    AUSTIN, TX 78701


                    MELZER CONSULTING
                    P.O. BOX 2083
                    MIDLAND, TX 79702-2083




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                    NORTON ROSE FULBRIGHT
                    FULBRIGHT TOWER
                    1301 MCKINNEY, SUITE 5100
                    HOUSTON, TX 77010-3095


                    ODESSA DEVELOPMENT CORPORATION
                    ATTN: BOARD PRESIDENT
                    411 W. 8TH STREET
                    ODESSA, TX 79761


                    ODESSA DEVELOPMENT CORPORATION
                    ATTENTION: BOARD PRESIDENT
                    411 W. 8TH STREET
                    ODESSA, TX 79761


                    ODESSA INDUSTRIAL
                     DEVELOPMENT CORP
                    ATTN SECRETARY
                    PO BOX 3626
                    ODESSA, TX 79760


                    ODESSA JUNIOR COLLEGE DISTRICT
                    GREGORY D. WILLIAMS ED.D./PRES
                    ODESSA COLLEGE
                    201 WEST UNIVERSITY BLVD.
                    ODESSA, TX 79764


                    ONCOR ELECTRIC DELIVERY CO LLC
                    ATTN: JEFF HERRING
                    2233 B MOUNTAIN CREEK PARKWAY
                    DALLAS, TX 75211-6711


                    ONEOK WESTEX TRANSMISSION LLC
                    ATTN: CONTRACT ADMINISTRATION
                    P.O. BOX 22089
                    TULSA, OK 74121-2089


                    QWAA (CHINA) LIMITED
                    APT 902, BUILDING 15
                    LANE 177, TIANSHAN ROAD
                    SHANGHAI PRC 200336
                    CHINA




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                    REZNICK CAPITAL MARKETS
                     SECURITIES, LLC
                    ATTN: PRESIDENT
                    420 LEXINGTON AVENUE #2310
                    NEW YORK, NY 10170


                    RLI INSURANCE COMPANY
                    8 GREENWAY PLAZA
                    SUITE 400
                    HOUSTON, TX 77046


                    SHARE VAULT
                    PANDESA CORPORATION
                    16795 LARK AVE., SUITE 210
                    LOS GATOS, CA 95032


                    SIEMENS ENERGY, INC.
                    4400 ALAFAYA TRAIL, MC Q1-286
                    ORLANDO, FL 32826-2399


                    SIEMENS FINANCIAL SERVICES INC
                    ATTN JAMES H. KIPERS, JR.
                    400 INTERSTATE NORTH PARKWAY
                    SUITE 1150
                    ATLANTA, GA 30339


                    SIEMENS FINANCIAL SVCS, INC.
                    400 INTERSTATE N PKWY, # 115
                    ATLANTA, GA 30339


                    SIEMENS FINANCIAL SVCS, INC.
                    170 WOOD AVENUE S
                    ISELIN, NJ 08830


                    SIEMENS FUEL GASIFICATION
                    GMBH & CO. KG
                    HALSBRUECKER STRASSE 34
                    FREIBERG GERMANY 09599
                    GERMANY 09599


                    SIEMENS FUEL GASIFICATION
                    GMBH & CO. KG
                    HALSBRUECKER STRASSE 34
                    FREIBERG GERMANY 09600
                    GERMANY 09599




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                    SNC-LAVALIN ENGINEERS
                     & CONSTRUCTORS INC
                    919 MILAM, SUITE 1000
                    HOUSTON, TX 77002


                    SNC-LAVALIN ENGINEERS
                     & CONSTRUCTORS, INC
                    919 MILAM, SUITE 1000
                    HOUSTON, TX 77002


                    SNC-LAVALIN ENGINEERS
                     & CONSTRUCTORS, INC.
                    919 MILAM, SUITE 1000
                    HOUSTON, TX 77002


                    SNC-LAVALIN ENGINEERS
                    & CONSTRUCTORS, INC
                    919 MILAM, SUITE 1000
                    HOUSTON, TX 77002


                    SNC-LAVALIN ENGINEERS
                     & CONSTRUCTORS INC
                    ATTENTION: BARRY WHITE
                    919 MILAM, SUITE 1000
                    HOUSTON, TX 77002


                    SNC-LAVALIN PROJECT SERVICES
                    436 CREAMERY WAY, SUITE 100
                    EXTON, PA 19341


                    SUMMIT CARBON CAPTURE, LLC
                    ATTN RICHARD W. BURKHARDT
                    801 SECOND AVENUE, SUITE 1150
                    SEATTLE, WA 98104


                    SUMMIT POWER GROUP, LLC
                    801 2ND AVE. STE 1150
                    SEATTLE, WA 98104


                    SUMMIT TEXAS CLEAN
                     ENERGY DEVELOPMENT, LLC
                    ATTN RICHARD W. BURKHAR
                    801 SECOND AVENUE, SUITE 1150
                    SEATTLE, WA 98104




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                    THE UNIVERSITY OF TEXAS SYSTEM
                     BOARD OF REGENTS
                    THE UNIVERSITY OF TEXAS SYSTEM
                    P.O. BOX 553
                    MIDLAND, TX 79702


                    U.S. DEPT. OF ENERGY/NETL
                    ATTN MAUREEN DAVISON-CNTRCT SP
                    626 COCHRANS MILL RD
                    PO BOX 10940
                    PITTSBURGH, PA 15236-0940


                    UNION PACIFIC RAILROAD COMPANY
                    ATTN REAL ESTATE FOLDR 2695-72
                    1400 DOUGLAS STREET
                    STOP 1690
                    OMAHA, NE 68179-1690


                    VEOLIA WATER TECHNOLOGIES INC
                    250 AIRSIDE DRIVE
                    MOON TOWNSHIP, PA 15108


                    WELLFORD CAPITAL MARKETS, LLC
                    ATTN: BRET LOGUE
                    110 E. 42ND STREET #1310
                    NEW YORK, NY 10017


                    WELLFORD CAPITAL MARKETS, LLC
                    ATTN: BRET LOGUE
                    110 E 42ND STREET #1310
                    NEW YORK, NY 10017


                    WELLFORD CAPITAL MARKETS, LLC
                    ATTN: BRET LOGUE
                    111 E 42ND STREET #1310
                    NEW YORK, NY 10017


                    WELLFORD CAPITAL PARTNERS, LLC
                    ATTN: BRET LOGUE
                    112 E 42ND STREET #1310
                    NEW YORK, NY 10017


                    WELLS FARGO BANK
                    CORPORATE TRUST SERVICES
                    WF 8113
                    PO BOX 1450
                    MINNEAPOLIS, MN 55485-8113


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                    WRIGHT, WILLIAM
                    GUANGCIA INT'L APARTMENTS 4-8B
                    CHAOYANG DISTRICT
                    BEIJING PRC 100020
                    CHINA




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Summit Texas Clean Energy, LLC                                                                  Case No.
                                                                                   Debtor(s)                Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Summit Texas Clean Energy, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 13, 2017                                                      /s/ Christine M. Tobin-Presser
 Date                                                                  Christine M. Tobin-Presser #27628
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Summit Texas Clean Energy, LLC
                                                                       Bush Kornfeld LLP
                                                                       601 Union St., Suite 5000
                                                                       Seattle, WA 98101-2373
                                                                       206-292-2110 Fax:206-292-2104




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Summit Texas Clean Energy, LLC                                                                        Case No.
                                                                                  Debtor(s)                       Chapter       7


                                                    BUSINESS INCOME AND EXPENSES

                                                               The business is not operating
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS                               (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                      $                     0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                      $                     0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                         $                     0.00
          4. Payroll Taxes                                                                                                          0.00
          5. Unemployment Taxes                                                                                                     0.00
          6. Worker's Compensation                                                                                                  0.00
          7. Other Taxes                                                                                                            0.00
          8. Inventory Purchases (Including raw materials)                                                                          0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                                 0.00
          10. Rent (Other than debtor's principal residence)                                                                        0.00
          11. Utilities                                                                                                             0.00
          12. Office Expenses and Supplies                                                                                          0.00
          13. Repairs and Maintenance                                                                                               0.00
          14. Vehicle Expenses                                                                                                      0.00
          15. Travel and Entertainment                                                                                              0.00
          16. Equipment Rental and Leases                                                                                           0.00
          17. Legal/Accounting/Other Professional Fees                                                                              0.00
          18. Insurance                                                                                                             0.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                      0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                      TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                      TOTAL

          22. Total Monthly Expenses (Add items 3-21)                                                                                  $                     0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                                $                     0.00




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